Form clkinq

                                United States Bankruptcy Court
                                  MIDDLE DISTRICT OF TENNESSEE
                                            Case No. 2:25−bk−01916
                                                  Chapter 11

In re:
    Hiawatha Manor Association, Inc.
    7380 W SAND LAKE RD SUITE 130
    ORLANDO, FL 32819
Social Security No.:

Employer's Tax I.D. No.:
  64−0654512


                                             CLERK'S REMARK


Clerk's Remark − The Debtor(s)/Party name(s) and the case number do not agree with the record of this case. (RE:
related document(s)51 Linda Simmons' Objection to (36 Application and Notice to Employ − BK Motion, 37
Certificate of Service) Certificate of Service mailed on 6/30/2025. Hearing will be held on 7/8/2025 at 09:30 AM,
Courtroom 1 (Virtual hearing if allowed; see website for details); 701 Broadway, Nashville, TN 37203.
(Attachments: # 1 Exhibit) Filed on the behalf of: Creditor Linda (Lindstrom) Simmons (RE: related document(s)36,
37).) (jtd)




Dated: 7/2/25                                                               Vanessa A. Lantin
                                                                            Court Clerk




        Case 2:25-bk-01916        Doc 52 Filed 07/02/25 Entered 07/02/25 09:05:15                  Desc
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